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IN THE UNITED STATES DISTRICT COURT
FOR THE wESTERN DISTRICT 0F TENNESSEE ,P., F , m , m E_ 01
WEs'rl~:RN DIvisloN “-3‘ -"‘l~"`¥`i l ’"3 *"i‘ j' '

UNITED STATES OF AMERICA
v.

 

KYLE BLACK

ORDER REVOKING BOND

 

This cause came on to be heard on AUGUST 15, 2005 on the motion of the United States to revoke defendant’s
bond. After hearing the proof
presented and argument of counsel, the Court, pursuant to 18 U.S.C. § 3148:

(]) finds that there is _

[ ] Probable cause to believe that the person has committed a Federal, State, or local crime while on
release; and/or

[ ] Clear and convincing evidence that the person has violated any other condition of release; and
(2) finds that there is k
[ ] Based on the factors set forth in section 3142(g) of this title, there is no condition

or combination of conditions of release that Will assure that the person will not flee or pose a
danger to the safety or any other person or the community; and/or

[ ] The person is unlikely to abide by any condition or combination of conditions of release.

(3) Defendant waives detention hearing Tu,u€:>

Based on these findings, it is hereby ordered that defendant's bond is REVOKED.

 

DIRECTIONS REGARDING DETENTION

KYLE BLACK is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. KYLE BLACK shall be afforded a reasonable opportunity for private
consultation with defense counsel On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal
for the purpose of an appearance in connection with a Court proceeding

IT IS SO ORDERED THIS 15”1`1-1 DAY OF AUGUST, 2005.

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RICT COURT- WEST§Rl\l DISTRICT OF T§NNESSE§

Notice of Distribution

This notice confirms a copy of the document docketed as number 247 in
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Stephen P. Hall

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Honorable .l. Breen
US DISTRICT COURT

